         Case 1:21-cr-00128-RC Document 155 Filed 11/29/23 Page 1 of 4




                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            Case No.: 1:21-cr-00128-RC

            v.


WILLIAM ALEXANDER POPE,

                       Defendant .


     SECOND SUPPLEMENTAL MOTION TO COMPEL
  INVENTORY AND PRODUCTION OF ALL UNITED STATES
          CAPITOL POLICE CCTV FOOTAGE
       On May 11, 2023, I filed ECF No. 113 with the Court seeking to compel the government

to inventory and produce all Capitol CCTV footage they have possessed. On October 4, 2023, I

filed a supplemental motion (ECF No. 114) noting that exculpatory CCTV footage the

government withheld from defense in the Oath Keepers case showed that multiple government

witnessed perjured themselves on the stand. Specifically, ECF No. 149 pointed out that CCTV

shows USCP officers Dunn and Lazarus were in two completely different parts of the Capitol

Complex at the time they both testified they were together near the Oath Keepers. The

government’s refusal to produce exculpatory CCTV clearly showing Lazarus in the tunnels

prevented the defense from cross-examining Lazarus’ when he falsely stated to the Court that he

had witnessed the Oath Keepers in the Small Rotunda with Dunn.

       The government continues to withhold more than one thousand USCP CCTV cameras

from the January 6 discovery, preventing defense teams from accessing exculpatory information

needed to cross-examine false testimony from government witnesses, as well as preventing them
           Case 1:21-cr-00128-RC Document 155 Filed 11/29/23 Page 2 of 4




from preparing and presenting their own defense arguments. This matter is still pending before

this Court, and I am here submitting a second supplemental motion with additional information.

        On November 17, 2023, Speaker of the United States House of Representatives Mike

Johnson released a statement1 saying he would make the “January 6, 2021 Capitol Hill security

footage available to all Americans.” He added that his intention was to publicly post “nearly all

of the footage, more than 40,000 hours.” Speaker Johnson’s statement also noted his decision,

was in part, to provide access to criminal defendants.

        However, the government also has an obligation to provide access to defendants. As I

noted in my response (ECF No. 119 at 2) to the government’s opposition to my original motion I

am here supplementing (ECF No. 117 at 2), I pointed out that the government claims to not even

know what CCTV they have in their possession. I stressed to the Court that this lack of an

inventory was putting defendant rights and liberties at risk:

        If the government does not even know what they have, the government is likely denying

        hundreds of January 6 defendants important exculpatory evidence. This would be like the

        government sending an innocent man to death row because they were too lazy to test for

        the DNA that would exonerate him. This potential for depriving citizens of their liberties

        without due process makes it even more crucial for this court to compel the government

        to inventory all Capitol Police CCTV in their possession, and to produce it in discovery.

        As seen with the unfortunate example of the Dunn and Lazarus perjury, non-violent

Americans have indeed been sent to prison because the government withheld CCTV in their




1
 Speaker Johnson’s full statement on his intent to make more than 40,000 hours of video public can be accessed
here: https://www.speaker.gov/speaker-johnson-statement-on-january-6-2021-u-s-capitol-security-tapes/
         Case 1:21-cr-00128-RC Document 155 Filed 11/29/23 Page 3 of 4




possession that would have been used to perjure false witnesses. Whether this was done by the

government maliciously or due to their laziness and lack of a CCTV inventory, the result is the

same – American citizens have been wrongly deprived of their liberties.

       Speaker Johnson’s statement of intent to release 40,000+ hours publicly, and specifically

to defendants, supersedes all past declarations by Thomas DeBiase that the government has used

to withhold CCTV from defense teams. Furthermore, as I noted in ECF No. 95 at 15, the

government has only produced 248 days of USCP CCTV in discovery – this is the equivalent of

less than 6000 hours available in discovery. This means the government could be withholding at

least 34,000 hours of CCTV that Speaker Johnson believes should be publicly available to

defendants. From DiBiase’s conflicting statements, we know that USCP turned over more than

14,000 hours to the FBI from just the hours of noon to 8 p.m. The CCTV the government

continues to withhold includes the video of Agent Lazarus that the government withheld from

January 6 defense teams.

       The government’s malicious or lazy withholding of CCTV likely has harmed, and will

harm, additional January 6 defendants, including myself. This makes it all the more urgent for

the Court to compel the government to inventory and produce all January 6 CCTV in their

possession. I therefore move that ECF No. 113, be granted in full.

                                                    By: William Pope

                                                        /s/

                                                    William Pope
                                                    Pro Se Officer of the Court
                                                    Topeka, Kansas
Case 1:21-cr-00128-RC Document 155 Filed 11/29/23 Page 4 of 4




                            Certificate of Service
         I certify that a copy of this was filed electronically for
               all parties of record on November 29, 2023.

                                 /s/
                    William Alexander Pope, Pro Se
